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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ROBERT JAHODA,

               Plaintiff,                  15cv1000
                                           LEAD CASE
                       v.                  ELECTRONICALLY FILED

FOOT LOCKER, INC.,

               Defendant.


MICHELLE SIPE,

               Plaintiff,                  15cv1037
                                           MEMBER CASE
                       v.

TOYS "R" US-DELAWARE, INC.,

               Defendant.


ACCESS NOW, INC.
a not- for- profit corporation, ET AL.
                                           15cv1626
               Plaintiffs,                 MEMBER CASE

                       v.

ACE HARDWARE CORPORATION,

               Defendant.


MICHELLE SIPE, ET AL.,

               Plaintiffs,                 15cv1630
                                           MEMBER CASE
                       v.

FRY'S ELECTRONICS, INC.,

               Defendant.
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MICHELLE SIPE, ET AL.,
                                                      15cv1631
               Plaintiffs,                            MEMBER CASE

                       v.

ADIDAS AMERICA, INC.,

               Defendant.


MICHELLE SIPE, ET AL.,

               Plaintiffs,                            15cv1640
                                                      MEMBER CASE
                       v.

AEROPOSTALE, INC.,

               Defendant.


MICHELLE SIPE, ET AL.,

               Plaintiffs,                            15cv1641
                                                      MEMBER CASE
        v.

PATAGONIA WORKS, INC.,

               Defendant.


                                    ORDER OF COURT

       Pending before the Court is Defendants’ Notice of Motion and Motion for a Jury Trial

(doc. no. 63) with supporting brief (doc. no. 64). In cases nos. 15cv1037, 15cv1626, 15cv1630,

15cv1631, 15cv1640, and 15cv 1641, Defendants therein requested a jury trial in their Answers

to numerous Complaints, alleging that the website of these defendants violated the Americans


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with Disabilities Act (ADA), and defense counsel at the Initial Case Management Conference of

January 29, 2016, asserted a right to a jury trial in said cases. The Court ordered briefing on this

issue. See doc. no. 54.

       In defendants’ combined Motion and supporting brief (doc. nos. 63 and 64), defendants

seem to concede that they do not have a constitutional right, nor a statutory right, to a jury trial in

these ADA cases, but now argue that Rule 39(c) of the Federal Rule of Civil Procedure should be

applied to these cases.

       Defendants’ brief (doc. no. 64 @ 4) states as follows:

       In an action not triable of right by a jury, the court, on motion or on its own:

           (1) may try any issue with an advisory jury; or
           (2) may, with the parties’ consent, try any issue by a jury whose verdict has
               the same effect as if a jury trial had been a matter or right, unless the
               action is against the United States and a federal statute provides for a
               nonjury trial.

           Therefore, this Court has full discretion to order any disputed issues of fact to
       be tried by a jury to assist it in making its ruling. Mala v. Crown Bay Marina,
       Inc., 704 F.3d 239, 249 (3d. Cir. 2013) (“District courts are free to use advisory
       juries, even absent the parties’ consent.”). “District courts are also free to reject
       their verdicts, as long as doing so is not independently erroneous.” Id.; Wilson v.
       Prasse, 463 F.2d 109, 116 (3d. Cir. 1972).

       Since plaintiffs have not sought a jury trial, and have not consented to a jury trial under

the above-quoted Rule 39(c)(2), the issue before the Court is whether to impanel an advisory jury

or juries. The Court declines to do so, because in these cases, the appointment of one advisory

jury, or a separate advisory jury for each case, would be inconsistent with the requirements of

Rule 1 of the Federal Rules of Civil Procedure, which states that these Rules “should be

construed and administered to secure the just, speedy, and inexpensive determination of every

action and proceeding.” An advisory jury or juries would double the trial time at least, and



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burden the parties with the additional costs of researching, drafting, and finalizing jury

instructions and verdict slip(s), and the other expensive pretrial jury requirements in this District

and, based upon this Court’s extensive trial experience as a trial lawyer and trial judge, would

double or triple the total trial time. Such a procedure also would increase the costs to the

taxpayers related to this jury (or juries).



                                        SO ORDERED, this 12th day of February, 2015

                                        s/ Arthur J. Schwab
                                        Arthur J. Schwab
                                        United States District Court Judge



cc:     All counsel of record




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